        Case 1:01-cv-12257-PBS Document 6748 Filed 12/08/09 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                          )
In re: PHARMACEUTICAL INDUSTRY                            )   MDL No. 1456
AVERAGE WHOLESALE PRICE LITIGATION                        )   Master File No. 01- 12257-PBS
                                                          )   Subcategory Case. No. 06-11337
                                                          )
                                                          )
THIS DOCUMENT RELATES TO:                                 )   Hon. Patti B. Saris
                                                          )
United States of America ex rel. Ven-A-Care of the        )   Magistrate Judge
Florida Keys, Inc., et al. v. Dey, Inc., et al.,          )   Marianne B. Bowler
Civil Action No. 05-11084-PBS                             )
                                                          )

              DEFENDANTS DEY, INC., DEY, L.P., AND DEY L.P., INC.’S
           CONSENTED TO MOTION FOR LEAVE TO FILE A SUR-REPLY
                   IN OPPOSITION TO THE UNITED STATES’
           _______MOTION TO CONSOLIDATE CASES FOR TRIAL_______

       Pursuant to Rule 7.1(b)(3) of the Local Rules for the District of Massachusetts,

Defendants Dey, Inc., Dey, L.P., and Dey L.P., Inc. (collectively, “Dey”), seek leave of the Court

to file a sur-reply in opposition to Plaintiff United States of America’s (the “Government”)

Motion to Consolidate Cases for Trial. Counsel for Dey has conferred with counsel for the

Government, who has indicated that the Government consents to this motion. The proposed Sur-

Reply Memorandum of Law in Opposition to the United States’ Motion to Consolidate Cases for

Trial is annexed hereto as Exhibit 1.

Dated: December 8, 2009

                                                     Respectfully Submitted,

                                                     KELLEY DRYE & WARREN LLP

                                                     By: /s Sarah L. Reid
                                                        Paul F. Doyle (BBO # 133460)
                                                        Sarah L. Reid (pro hac vice)
                                                        William A. Escobar (pro hac vice)
                                                        Neil Merkl (pro hac vice)


                                                1
Case 1:01-cv-12257-PBS Document 6748 Filed 12/08/09 Page 2 of 4




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                                   Attorneys for Defendants Dey, Inc.
                                   Dey, L.P., and Dey L.P., Inc.




                               2
        Case 1:01-cv-12257-PBS Document 6748 Filed 12/08/09 Page 3 of 4




                           LOCAL RULE 7.1 CERTIFICATION

             I certify that, on December 8, 2009, counsel for Dey consulted with counsel for
the Government, who indicated that the Government consented to this motion.



                                                            /s Sarah L. Reid




                                              3
        Case 1:01-cv-12257-PBS Document 6748 Filed 12/08/09 Page 4 of 4




                                 CERTIFICATE OF SERVICE

                I certify that a true and correct copy of the foregoing was delivered to all counsel
of record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by
causing to be sent, on December 8, 2009, a copy to LexisNexis File & Serve for posting and
notification to all parties.



                                                                /s Sarah L. Reid




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